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UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,            )   Cr. No. 17-00101 LEK
                                      )
                    Plaintiff,        )   GOVERNMENT'S RESPONSE TO
                                      )   DEFENDANT’S MOTION TO
             v.                       )   REMOVE UNLAWFUL
                                      )   STIPULATIONS ON NON-
 ANTHONY WILLIAMS,                    )   COMMUNICATION BETWEEN
                                      )   PRIVATE ATTORNEY GENERAL
                    Defendant.        )   ANTHONY WILLIAMS AND HIS
                                      )   QUEEN MOTHER MRS. BARBARA
                                      )   WILLIAMS; CERTIFICATE OF
                                      )   SERVICE
                                      )

           GOVERNMENT'S RESPONSE TO DEFENDANT’S
          MOTION TO REMOVE UNLAWFUL STIPULATIONS
        BETWEEN PRIVATE ATTORNEY GENERAL ANTHONY
    WILLIAMS AND HIS QUEEN MOTHER MRS. BARBARA WILLIAMS
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      The government respectfully submits this brief in response to the defendant

Anthony T. Williams’s motion “to remove unlawful stipulations on non-

communication” with his co-defendant Barbara Williams (Mot.). Mot. Exh. A,

ECF No. 514-2. The defendant seeks to challenge one of the standard conditions

of pretrial release for co-defendant Barbara Williams, the mother of the defendant;

the defendant does not challenge any condition of his own confinement.

      The defendant’s motion should be denied. The defendant does not allege an

injury to establish standing to challenge the conditions of release of another party.

The defendant misrepresents his co-defendant’s release conditions, which in fact

permit contact between co-defendants in the presence of an attorney, contrary to

the defendant’s claim otherwise.

                                   BACKGROUND

      The defendant is currently serving a sentence of imprisonment following a

felony conviction and judgment entered by the Broward County Circuit Court on

June 23, 2017. On July 23, 2017, this Court entered a Writ of Habeas Corpus Ad

Prosequendum to permit the U.S. Marshals Service to transfer Mr. Williams to this

district for prosecution. On September 29, 2017, the defendant was ordered

detained at the Federal Detention Center, Honolulu (FDC) pending trial. While in

pretrial detention, the defendant had placed Barbara Williams’s name on his

contact list, permitting visitation, mail, and telephone communication between the


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defendant and Ms. Williams. Ms. Williams had not been charged at the time.

      On March 28, 2018, a federal grand jury returned a Superseding Indictment

charging co-defendant Barbara Williams with 15 counts of wire fraud and 17

counts of mail fraud. ECF No. 154. Co-defendant Barbara Williams was

released on bond, subject to conditions. ECF No. 233. Among the standard

conditions of release included in co-defendant’s release order was paragraph 7m1:

             Contact is prohibited directly, indirectly, or through third
             parties: with co-defendants, co-conspirators, or witnesses
             in this and any related case. The U.S. Attorney’s Office
             will provide Pretrial Services with initial and updated
             lists of names of persons with whom contact is
             prohibited. You may have contact with codefendants in
             this case in the presence of defense counsel.

Order Setting Conditions of Release at ¶ 7m1, ECF No. 233 (emphasis in original).

                                   ARGUMENT

      The defendant’s motion should be denied. As an initial matter, the

defendant has failed to establish standing to challenge the conditions of pretrial

release of a co-defendant. Standing requires an injury in fact that is “concrete and

particularized and actual or imminent, not conjectural or hypothetical” and that the

be fairly traceable to the challenged action of the government. Wilbur v. Locke,

423 F.3d 1101, 1107 (9th Cir. 2005). Because it is co-defendant Barbara

Williams’s pretrial release condition at issue, it is co-defendant Barbara Williams’s

responsibility to contest the condition. See Gonzales v. Cal. Dep’t of Corr’ns, 739


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F.3d 1226, 1234 (9th Cir. 2014) (“Generally speaking, a litigant must assert his or

her own legal rights and interests, and cannot rest a claim to relief on the legal

rights or interests of third parties.”). Co-defendant Barbara Williams has declined

to do so, and indeed, has apparently declined to join the defendant’s motion.

      Nonetheless, to support his claim to injury, the defendant argues that co-

defendant Barbara Williams’s release conditions cause him an injury in fact

because he has been “dives[ted of] the right to wish his Queen [co-defendant

Barbara Williams] happy birthday, happy mother’s day and happy anniversary,”

and has been otherwise “deprived of communication with the Queen for 15 months

and counting . . . .” ECF No. 514-2 at 1.

      Separate and apart from whether such a rhetorical reframing of the injury

caused by restrictions placed on a third-party co-defendant’s communications is

adequate to support standing, in this case, there is no injury. The co-defendant’s

conditions of release permit contact with the defendant by their terms, contrary to

the representation of the defendant. The release condition prohibits contact with

“co-defendants, co-conspirators, and witnesses in this and any related case.”

Order Setting Conditions of Release at ¶ 7m1, ECF No. 233. This is a standard

Pretrial Services release condition, and is referenced explicitly by statute. 18

U.S.C. § 3142(c)(1(B)(v) (stating release condition that “avoid all contact with . . .

a potential witness who may testify concerning the offense”). However, for co-


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defendant Barbara Williams, the Court ordered that she may have contact with her

co-defendants, including the defendant Anthony Williams, “in the presence of

defense counsel.” In any event, apparently, according to the defendant’s own

motion, co-defendant Barbara Williams has chosen not to avail herself of this

privilege “for 15 months and counting.” This is not a cognizable injury that this

Court should address.

      In light of the foregoing, co-defendant Barbara Williams’s conditions of

pretrial release should not be modified and the motion should be denied.

                                 CONCLUSION

      For the foregoing reasons, the government respectfully requests that the

Court deny Defendant’s Motion to Remove Unlawful Stipulations on Non-

Communication Between Private Attorney General Anthony Williams and his

Queen Mother.

            DATED: July 19, 2019, at Honolulu, Hawaii.

                                             KENJI PRICE
                                             United States Attorney
                                             District of Hawaii


                                             By /s/ Gregg Paris Yates
                                              GREGG PARIS YATES
                                              Assistant U.S. Attorney




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                               CERTIFICATE OF SERVICE

      I certify that, on the dates and by the methods of service noted below, a true

and correct copy of the foregoing was served on the following by the method

indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
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      Stand-by Attorney for Defendant
      ANTHONY T. WILLIAMS

Served by First Class Mail:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: July 19, 2019, at Honolulu, Hawaii.


                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
                                             District of Hawaii
